 

UNITED STATES DISTRICT COURT mn,

FOR THE EASTERN DISTRICT OF NORTH CAROLINA ‘Strict of Nc
WESTERN DIVISION
NO. 5:19-CR-00181-H

UNITED STATES OF AMERICA
" ’ ORDER

CALIXTO RODRIGUEZ-BETANCOURT

This matter comes now before this court on motion of the United States to order
the disposition of a firearm associated with the above captioned case.

For good cause shown, the court hereby GRANTS the government's motion,
and orders the Wilson Police Department or other custodial agency to dispose of the
Mossberg 500A 12-gauge shotgun, bearing serial number R637145, and any and all
related ammunition, by destruction, incapacitation, or other means in accordance

with its regulations.

This the 4 day of Wace , 2020.

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MALCOLM J. HOWARD
Senior United States District Judge

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